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                      EXHIBIT B
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                Code Section                                                                      Offense Description
                 21, USC, § 2252(a)(2) and (b)(1)                   receipt or distribution of a visual depiction of a minor engaged in sexually explicit conduct
                 21, USC, § 2252(a)(4)(b) and (b)(2)                possession of and access with intent to view a visual depictions of a minor engaged in sexually
                                                                    explicit conduct

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                                       SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE

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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

 IN THE MATTER OF THE SEARCH OF:                       )
 PREMISES LOCATED AT: 6603 Crimson                     )
 Lane, Barnhart Missouri, 63012 within the             )     No. 4:20 MJ 3301 NCC
 Eastern District of Missouri, a two-story             )
 structure with a tan siding and tan brick             )   FILED UNDER SEAL
 exterior, with black shutters, a three (3) car        )
 garage and a shingle-style roof. The numbers          )   SIGNED AND SUBMITTED TO THE COURT FOR
 “6603” are clearly displayed on the front porch       )   FILING BY RELIABLE ELECTRONIC MEANS

 post.                                                 )
 (SEE ATTACHMENT A.)                                   )

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Daniel Root, a Special Agent with the Federal Bureau of Investigation being duly sworn,
depose and state as follows:


                                       INTRODUCTION
       1.      I have been employed as a Special Agent (SA) of the Federal Bureau of
Investigation (FBI) since January 2016, and am currently assigned to the St. Louis Division. While
employed by the FBI, I have investigated federal criminal violations related to high technology or
cybercrime, child exploitation, and child pornography. I have gained experience through training
provided by the FBI and through everyday work relating to conducting these types of
investigations. I have received training in the area of child pornography and child exploitation,
and have had the opportunity to observe and review numerous examples of child pornography (as
defined in 18 U.S.C. § 2256) in all forms of media including computer media. During my time as
a case agent on numerous complex investigations, I utilized a variety of investigative techniques
to include: organizing and participating in physical surveillance; participating in undercover
operations; serving search warrants; making arrests; and interviews involving defendants.
Moreover, I am a federal law enforcement officer who is engaged in enforcing the criminal laws,
including 18 U.S.C. §§ 2251, 2252, and 2252A, and I am authorized by law to request a search
warrant.

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       2.       This Affidavit is submitted in support of an application under Rule 41 of the
Federal Rules of Criminal Procedure for a search warrant for the locations specifically described
in Attachment A of this Affidavit, including the entire property located at 6603 Crimson Lane,
Barnhart, Missouri (the “SUBJECT PREMISES”), the content of electronic storage devices
located therein, and any person located at the SUBJECT PREMISES, for contraband and evidence,
fruits, and instrumentalities of violations of Title 18 U.S.C. § § 2251, 2252, and 2252A, which
items are more specifically described in Attachment B of this Affidavit.
       3.      The statements contained in this affidavit are based in part on information provided
by U.S. federal law enforcement agents; written reports about this and other investigations that I
have received, directly or indirectly, from other law enforcement agents, including foreign law
enforcement agencies, information gathered from the service of administrative subpoenas; the
results of physical and electronic surveillance conducted by law enforcement agents; independent
investigation and analysis by law enforcement agents/analysts and computer forensic
professionals; and my experience, training and background as a Special Agent. Since this
Affidavit is being submitted for the limited purpose of securing a search warrant, I have not
included each and every fact known to me concerning this investigation. I have set forth only the
facts that I believe are necessary to establish probable cause to believe that contraband and
evidence, fruits, and instrumentalities of violations of 18 U.S.C. § 2252(a)(2) and (b)(1) (receipt
or distribution of a visual depiction of a minor engaged in sexually explicit conduct); 18 U.S.C. §
2252(a)(4)(B) and (b)(2) (possession of and access with intent to view a visual depiction of a minor
engaged in sexually explicit conduct); 18 U.S.C. § 2252A(a)(1) and (b)(1) (transportation of child
pornography); 18 U.S.C. § 2252A(a)(2)(A) and (b)(1) (receipt or distribution of child
pornography); and 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) (possession of and access with intent to
view child pornography) are presently located at the SUBJECT PREMISES.


                                 STATUTORY AUTHORITY
4. As noted above, this investigation concerns alleged violations of the following:
   a. 18 U.S.C. § 2252(a)(1) and (b)(1) prohibit any person from knowingly transporting or
       shipping, or attempting or conspiring to transport or ship, any visual depiction using any
       means or facility of interstate or foreign commerce, or in or affecting interstate or foreign

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    commerce, by any means, including by computer or mail, if the production of such visual
    depiction involved the use of a minor engaging in sexually explicit conduct and such visual
    depiction is of such conduct.
b. 18 U.S.C. § 2252(a)(2) and (b)(1) prohibit any person from knowingly receiving or
    distributing, or attempting or conspiring to receive or distribute, any visual depiction using
    any means or facility of interstate or foreign commerce, or that has been mailed or shipped
    or transported in or affecting interstate or foreign commerce, or which contains materials
    which have been mailed or so shipped or transported, by any means including by computer,
    or knowingly reproducing any visual depiction for distribution using any means or facility
    of interstate or foreign commerce, or in or affecting interstate or foreign commerce or
    through the mails, if the production of such visual depiction involved the use of a minor
    engaging in sexually explicit conduct and such visual depiction is of such conduct.
c. 18 U.S.C. § 2252(a)(4)(B) and (b)(2) prohibit any person from knowingly possessing or
    accessing with the intent to view, or attempting or conspiring to possess or access with the
    intent to view, 1 or more books, magazines, periodicals, films, video tapes, or other matter
    which contain any visual depiction that has been mailed, or has been shipped or transported
    using any means or facility of interstate or foreign commerce or in or affecting interstate
    or foreign commerce, or which was produced using materials which have been mailed or
    so shipped or transported, by any means including by computer, if the production of such
    visual depiction involved the use of a minor engaging in sexually explicit conduct and such
    visual depiction is of such conduct.
d. 18 U.S.C. § 2252A(a)(1) and (b)(1) prohibit a person from knowingly mailing, or
    transporting or shipping using any means or facility of interstate or foreign commerce or
    in or affecting interstate or foreign commerce by any means, including by computer, any
    child pornography, as defined in 18 U.S.C. § 2256(8), or attempting or conspiring to do so.
e. 18 U.S.C. § 2252A(a)(2)(A) and (b)(1) prohibit a person from knowingly receiving or
    distributing, or attempting or conspiring to receive or distribute, any child pornography or
    any material that contains child pornography, as defined in 18 U.S.C. § 2256(8), that has
    been mailed, or using any means or facility of interstate or foreign commerce shipped or



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       transported in or affecting interstate or foreign commerce by any means, including by
       computer.
   f. 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from knowingly possessing or
       knowingly accessing with intent to view, or attempting or conspiring to do so, any material
       that contains an image of child pornography, as defined in 18 U.S.C. § 2256(8), that has
       been mailed, or shipped or transported using any means or facility of interstate or foreign
       commerce, or in or affecting interstate or foreign commerce, by any means, including by
       computer, or that was produced using materials that have been mailed or shipped or
       transported in or affecting interstate or foreign commerce by any means, including by
       computer.
                                        DEFINITIONS
5. The following definitions apply to this Affidavit and Attachment B:
   a. “Bulletin Board” means an Internet-based website that is either secured (accessible with a
       password) or unsecured, and provides members with the ability to view postings by other
       members and make postings themselves. Postings can contain text messages, still images,
       video images, or web addresses that direct other members to specific content the poster
       wishes. Bulletin boards are also referred to as “internet forums” or “message boards.” A
       “post” or “posting” is a single message posted by a user. Users of a bulletin board may
       post messages in reply to a post. A message “thread,” often labeled a “topic,” refers to a
       linked series of posts and reply messages. Message threads or topics often contain a title,
       which is generally selected by the user who posted the first message of the thread. Bulletin
       boards often also provide the ability for members to communicate on a one-to-one basis
       through “private messages.” Private messages are similar to e-mail messages that are sent
       between two members of a bulletin board. They are accessible only by the users who
       sent/received such a message, or by the bulletin board administrator.
   b. “Chat,” as used herein, refers to any kind of text communication over the Internet that is
       transmitted in real-time from sender to receiver. Chat messages are generally short in order
       to enable other participants to respond quickly and in a format that resembles an oral
       conversation.    This feature distinguishes chatting from other text-based online
       communications such as Internet forums and email.

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c. “Chat room,” as used herein, refers to the ability of individuals to meet in one location on
    the Internet in order to communicate electronically in real-time to other individuals.
    Individuals may also have the ability to transmit electronic files to other individuals within
    the chat room.
d. “Child erotica,” as used herein, means materials or items that are sexually arousing to
    persons having a sexual interest in minors but that are not necessarily obscene or do not
    necessarily depict minors engaging in sexually explicit conduct.
e. “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual depiction, including
    any photograph, film, video, picture, or computer or computer-generated image or picture,
    whether made or produced by electronic, mechanical or other means, of sexually explicit
    conduct, where (a) the production of the visual depiction involved the use of a minor
    engaged in sexually explicit conduct, (b) the visual depiction is a digital image, computer
    image, or computer-generated image that is, or is indistinguishable from, that of a minor
    engaged in sexually explicit conduct, or (c) the visual depiction has been created, adapted,
    or modified to appear that an identifiable minor is engaged in sexually explicit conduct.
f. “Cloud storage,” as used herein, is a form of digital data storage in which the digital data
    is stored on remote servers hosted by a third party (as opposed to, for example, on a user’s
    computer or other local storage device) and is made available to users over a network,
    typically the Internet.
g. “Computer,” as used herein, refers to “an electronic, magnetic, optical, electrochemical, or
    other high speed data processing device performing logical or storage functions, and
    includes any data storage facility or communications facility directly related to or operating
    in conjunction with such device” and includes smartphones, other mobile phones, and other
    mobile devices. See 18 U.S.C. § 1030(e)(1).
h. “Computer hardware,” as used herein, consists of all equipment that can receive, capture,
    collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,
    or similar computer impulses or data. Computer hardware includes any data-processing
    devices (including central processing units, internal and peripheral storage devices such as
    fixed disks, external hard drives, “thumb,” “jump,” or “flash” drives, which are small
    devices that are plugged into a port on the computer, and other memory storage devices);

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    peripheral input/output devices (including keyboards, printers, video display monitors, and
    related communications devices such as cables and connections); as well as any devices,
    mechanisms, or parts that can be used to restrict access to computer hardware (including
    physical keys and locks).
i. “Wireless telephone or mobile telephone, or cellular telephone or cell phone or
    smartphone” as used herein means is a handheld wireless device used for voice and data
    communication through radio signals. These telephones send signals through networks of
    transmitter/receivers, enabling communication with other wireless telephones or traditional
    “land line” telephones. A wireless telephone usually contains a “call log,” which records
    the telephone number, date, and time of calls made to and from the phone. In addition to
    enabling voice communications, wireless telephones offer a broad range of capabilities.
    These capabilities include: storing names and phone numbers in electronic “address
    books;” sending, receiving, and storing text messages and e-mail; taking, sending,
    receiving, and storing still photographs and moving video; storing and playing back audio
    files; storing dates, appointments, and other information on personal calendars; and
    accessing and downloading information from the Internet. Wireless telephones may have
    wireless connection capabilities such as Wi-Fi and Bluetooth. Wireless telephones may
    also include global positioning system (“GPS”) technology for determining the location of
    the device.
j. “Computer passwords and data security devices,” as used herein, consist of information or
    items designed to restrict access to or hide computer software, documentation, or data.
    Data security devices may consist of hardware, software, or other programming code. A
    password (a string of alpha-numeric characters) usually operates what might be termed a
    digital key to “unlock” particular data security devices. Data security hardware may
    include encryption devices, chips, and circuit boards. Data security software may include
    programming code that creates “test” keys or “hot” keys, which perform certain pre-set
    security functions when touched. Data security software or code may also encrypt,
    compress, hide, or “booby-trap” protected data to make it inaccessible or unusable, as well
    as reverse the process to restore it.



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k. The “Domain Name System” or “DNS” is system that translates readable Internet domain
    names such as www.justice.gov into the numerical IP addresses of the computer server that
    hosts the website.
l. “Encryption” is the process of converting data into a code in order to prevent unauthorized
    access to the data.
m. A “hidden service,” also known as an “onion service,” is website or other web service that
    is accessible only to users operating within the Tor anonymity network.
n. “Hyperlink” refers to an item on a web page which, when selected, transfers the user
    directly to another location in a hypertext document or to some other web page.
o. The “Internet” is a global network of computers and other electronic devices that
    communicate with each other. Due to the structure of the Internet, connections between
    devices on the Internet often cross state and international borders, even when the devices
    communicating with each other are in the same state.
p. “Internet Service Providers” (“ISPs”), as used herein, are commercial organizations that
    are in business to provide individuals and businesses access to the Internet. ISPs provide
    a range of functions for their customers including access to the Internet, web hosting, email,
    remote storage, and co-location of computers and other communications equipment.
q. An “Internet Protocol address” or “IP address,” as used herein, refers to a unique numeric
    or alphanumeric string used by a computer or other digital device to access the Internet.
    Every computer or device accessing the Internet must be assigned an IP address so that
    Internet traffic sent from and directed to that computer or device may be directed properly
    from its source to its destination. Most Internet Service Providers (“ISPs”) control a range
    of IP addresses. IP addresses can be “dynamic,” meaning that the ISP assigns a different
    unique number to a computer or device every time it accesses the Internet. IP addresses
    might also be “static,” if an ISP assigns a user’s computer a particular IP address that is
    used each time the computer accesses the Internet. ISPs typically maintain logs of the
    subscribers to whom IP addresses are assigned on particular dates and times.
r. “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the age of eighteen
    years.



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s. “Records,” “documents,” and “materials,” as used herein, include all information recorded
   in any form, visual or aural, and by any means, whether in handmade, photographic,
   mechanical, electrical, electronic, or magnetic form
t. “Remote computing service,” as defined in 18 U.S.C. § 2711(2), is the provision to the
   public of computer storage or processing services by means of an electronic
   communications system.
u. “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means actual or simulated
   (a) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal,
   whether between persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d)
   sadistic or masochistic abuse; or (e) lascivious exhibition of the anus, genitals, or pubic
   area of any person.
v. A “storage medium” is any physical object upon which computer data can be recorded.
   Examples include hard disks, RAM, floppy disks, “thumb,” “jump,” or “flash” drives, CD-
   ROMs, and other magnetic or optical media.
w. The “Tor network” is a computer network available to Internet users that is designed
   specifically to facilitate anonymous communication over the Internet. The Tor network
   attempts to do this by routing Tor user communications through a globally distributed
   network of relay computers, along a randomly assigned path known as a “circuit.”
x. “URL” is an abbreviation for Uniform Resource Locator and is another name for a web
   address. URLs are made of letters, numbers, and other symbols in a standard form. People
   use them on computers by clicking a pre-prepared link or typing or copying and pasting
   one into a web browser to make the computer fetch and show some specific resource
   (usually a web page) from another computer (web server) on the Internet.
y. “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes undeveloped film and
   videotape, data stored on computer disc or other electronic means which is capable of
   conversion into a visual image, and data which is capable of conversion into a visual image
   that has been transmitted by any means, whether or not stored in a permanent format.
z. A “Website” consists of textual pages of information and associated graphic images. The
   textual information is stored in a specific format known as Hyper-Text Mark-up Language



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         (HTML) and is transmitted from web servers to various web clients via Hyper-Text
         Transport Protocol (HTTP).


          BACKGROUND OF THE INVESTIGATION AND PROBABLE CAUSE
6. A user of the Internet account at the SUBJECT PREMISES has been linked to an online
     community of individuals who regularly send and receive child pornography via a hidden
     service website that operated on the Tor anonymity network. The website is described below
     and referred to herein as the “TARGET WEBSITE.”1 There is probable cause to believe that
     a user of the Internet account at the SUBJECT PREMISES accessed the TARGET WEBSITE,
     as further described herein.
                                         The Tor Network
7. The Internet is a global network of computers and other devices. Devices directly connected
     to the Internet are uniquely identified by IP addresses, which are used to route information
     between Internet-connected devices. Generally, when one device requests information from a
     second device, the requesting device specifies its own IP address so that the responding device
     knows where to send its response. On the Internet, data transferred between devices is split
     into discrete packets, each of which has two parts: a header with non-content routing and
     control information, such as the packet’s source and destination IP addresses; and a payload,
     which generally contains user data or the content of a communication.
8. The website further described below operated on the Tor network, which is a computer network
     available to Internet users that is designed specifically to facilitate anonymous communication
     over the Internet. The Tor network attempts to do this by routing Tor user communications
     through a globally distributed network of relay computers, along a randomly assigned path
     known as a “circuit.” Because of the way the Tor network routes communications through the
     relay computers, traditional IP address-based identification techniques are not effective.



1
 The name of the TARGET WEBSITE is known to law enforcement. Investigation into the users
of the website remains ongoing and disclosure of the name of the website would potentially alert
active website users to the investigation, potentially provoking users to notify other users of law
enforcement action, flee, and/or destroy evidence.


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9. To access the Tor network, a user must install Tor software. That is most easily done by
     downloading the free “Tor browser” from the Tor Project, the private entity that maintains the
     Tor network, via their website at www.torproject.org.2 The Tor browser is a web browser that
     is configured to route a user’s Internet traffic through the Tor network.
10. As with other Internet communications, a Tor user’s communications are split into packets
     containing header information and a payload, and are routed using IP addresses. In order for
     a Tor user’s communications to be routed through the Tor network, a Tor user necessarily (and
     voluntarily) shares the user’s IP address with Tor network relay computers, which are called
     “nodes.” This routing information is stored in the header portion of the packet. As the packets
     travel through the Tor network, each node is able to see the address information of the previous
     node the communication came from and the next node the information should be sent to. Those
     Tor nodes are operated by volunteers – individuals or entities who have donated computers or
     computing power to the Tor network in order for it to operate.
11. Tor may be used to access open-Internet websites like www.justice.gov. Because a Tor user’s
     communications are routed through multiple nodes before reaching their destination, when a
     Tor user accesses such an Internet website, only the IP address of the last relay computer (the
     “exit node”), as opposed to the Tor user’s actual IP address, appears on that website’s IP
     address log. In addition, the content of a Tor user’s communications are encrypted while the
     communication passes through the Tor network. That can prevent the operator of a Tor node
     from observing the content (but not the routing information) of other Tor users’
     communications.
12. The Tor Project maintains a publicly available frequently asked questions (FAQ) page,
     accessible from its website, with information about the Tor network. Within those FAQ, the
     Tor Project advises Tor users that the first Tor relay to which a user connects can see the Tor
     user’s actual IP address. In addition, the FAQ also cautions Tor users that the use of the Tor
     network does not render a user’s communications totally anonymous. For example, in the Tor
     Project’s FAQ, the question “So I'm totally anonymous if I use Tor?” is asked, to which the
     response is, in bold text, “No.”

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 Tor users may also choose to manually configure a web browser or other application to route
communications through the Tor network.

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13. The Tor Network also makes it possible for users to operate or access websites that are
   accessible only to users operating within the Tor network. Such websites are called “hidden
   services” or “onion services.” They operate in a manner that attempts to conceal the true IP
   address of the computer hosting the website. Like other websites, hidden services are hosted
   on computer servers that communicate through IP addresses. However, hidden services have
   unique technical features that attempt to conceal the computer server’s location.
14. Unlike standard Internet websites, a Tor-based web address is comprised of a series of either
   16 or 56 algorithm-generated characters, for example “asdlk8fs9dflku7f,” followed by the
   suffix “.onion.” Ordinarily, investigators can determine the IP address of the computer server
   hosting a website (such as www.justice.gov) by simply looking it up on a publicly available
   Domain Name System (“DNS”) listing. Unlike ordinary Internet websites, however, there is
   no publicly available DNS listing through which one can query the IP address of a computer
   server that hosts a Tor hidden service. So, while law enforcement agents can often view and
   access hidden services that are facilitating illegal activity, they cannot determine the IP address
   of a Tor hidden service computer server via public lookups. Additionally, as with all Tor
   communications, communications between users’ computers and a Tor hidden service
   webserver are routed through a series of intermediary computers. Accordingly, neither law
   enforcement nor hidden-service users can use public lookups or ordinary investigative means
   to determine the true IP address – and therefore the location – of a computer server that hosts
   a hidden service.


                              Description of TARGET WEBSITE
15. The TARGET WEBSITE was an online bulletin board dedicated to the advertisement and
   distribution of child pornography that operated from approximately at least September 2016 to
   June 2019. In June of 2019, the computer server hosting the TARGET WEBSITE, which was
   located outside of the United States, was seized by a foreign law enforcement agency.
16. A review of the initial TARGET WEBSITE page revealed it was a message board web page
   that contained a search bar, and showcased two hyperlinks titled, “Announcements” and
   “Important Information.” Located below the title were hyperlinks including those entitled



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   “Quick Links,” “Home,” “Board Index,” “Login,” and “Register.” As of June 2019, the website
   had over 820,000 members and over 81,000 postings.
17. Upon accessing the “Announcements” hyperlink of the TARGET WEBSITE, the following
   message was displayed in message board form, “Welcome, Please read before registering”
   which was dated July 1, 2016. Upon accessing the aforementioned hyperlink, the message
   read, “Welcome abusers and abusees and those that enjoy watching. This website was created
   to host videos, photos and discussions of 18 (twinks) and younger of Hurtcore materials (videos
   & pictures) as well as discussion of such.” Based on my training and experience, I know that
   Hurtcore refers to violent pornography. The message continued, “PS Please register to see all
   the forums, and use strong password for user profile.”
18. Upon accessing the “Register” link of the TARGET WEBSITE, it was revealed that users
   would complete a “Username,” “Password,” “Confirm password,” “Language,” and “My
   timezone,” fields, as well as a “Confirmation of Registration” code. Upon entering the
   TARGET WEBSITE, sections and forums for posting to the website included “HURTCORE
   Toddlers Videos (Ages 0-5),” “Preteen/Hebe Children Videos (Ages 6-13),” “Teens Videos
   (Ages 14+),” “Toddlers Images (Ages 0-5),” “Preteen/Hebe Children Images (Ages 6-13),”
   and “Teens Images (Ages 14+).” Based on my training and experience, I know that “Hebe” is
   a reference to a “hebephile,” which is a person with a persistent sexual interest in pubescent
   minor children. Another forum was named “GORE/DEATH” which included sub-forms for
   “Toddlers (Ages 0-5),” “Preteen/Hebe Children (Ages 6-13)” and “Teens (Ages 14+).” An
   additional section of the website called “The Team” listed the usernames of two website
   “Administrators” and five “Global Moderators.” The TARGET WEBSITE also contained a
   private message feature that was available, allowing users to send private messages to each
   other.
19. On June 23, 2016, a website administrator posted a topic entitled “Board Rules” in the
   “Important Information” forum which contained the following explanation of the website:
   Rules are simple all material must be related to Hurtcore content. What is Hurtcore content? It
   is rape, fighting, wrestling, bondage, spanking, pain, mutilation, gore, dead bodies, and etc.
   (no limits) Why does this place exist? There was a need and since society thinks I am worst
   than any abuser or creator of Hurtcore content, I decided to create this place for those who like

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   it and want to share. Besides I am the mischievous god. It is up to you to make this the best
   Hurtcore board there is. So please upload whatever you can so that it can be shared.
20. A review of the “Toddlers Videos,” “Preteen/Hebe Children,” “Toddlers Images,” and
   “Gore/Death” forums and subforums, as well as additional forums, within the various above
   sections revealed they contained numerous pages of topics. Each topic contained a title, the
   author, the number of replies, the number of views, and the last post. The last post section
   included the date and time of the post as well as the author. Upon accessing a topic, the original
   post appeared at the top of the page, with any corresponding replies to the original post
   included in the thread below it. Typical posts appeared to contain text, images, thumbnail
   previews of images, links to external sites with compressed files (such as “.rar”), or replies to
   previous posts.
21. A review of topics within these sections revealed numerous posts containing images and/or
   videos depicting child pornography and child erotica of prepubescent males, females, toddlers,
   and infants; including those depicting anal, vaginal, and oral penetration. Additionally, these
   sections revealed numerous posts containing images and/or videos depicting child
   pornography involving gore and sometimes death. Examples of these are as follows:
22. On October 9, 2016, a website user posted a topic entitled “Fuck the newborn. Real fuck!” in
   the “Hurtcore/Toddlers Images/Girls” forum that contained nine images depicting child
   pornography and child erotica of a prepubescent female infant. One of these images depicted
   a naked female infant lying on her back with her legs spread apart, exposing her vagina, with
   a gloved adult finger inserted into her anus. A male’s penis was pressed against her vagina and
   the head of the penis inserted into her mouth. A brown liquid substance, appearing to be the
   infant’s feces are seen smeared around her anus.
23. On November 5, 2016, a website user posted a topic entitled “BabyHee 1yo (one of full
   version)” in the “HurtCore/Toddlers Videos/Boys” forum that contained images depicting
   child pornography and torture of a prepubescent male, who was completely naked and tied
   down with rope on the side of a bath tub. Among other things, the images depicted an adult
   male defecating on the chest and urinating in the mouth of the prepubescent male.




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     Evidence Related to Identification of Target that Accessed TARGET WEBSITE
24. I am aware that U.S. as well as foreign law enforcement agencies investigate anonymous
   offenders engaging in online child sexual exploitation via Tor hidden service websites such as
   the website(s) described herein. Those websites are globally accessible. The websites and their
   users may therefore be located anywhere in the world. Due to the anonymity provided by the
   Tor network, it can be difficult or impossible to determine, at the beginning of an investigation,
   where in the world a particular website or user is located.          Accordingly, when a law
   enforcement agency obtains evidence that such a website or website user may be located in
   another country, it is common practice for that law enforcement agency to share information
   with a law enforcement agency in the country where the website is located or the offender
   appears to reside, in accordance with each country’s laws.
25. In August 2019, a foreign law enforcement agency (referenced herein as “FLA”) known to the
   FBI and with a history of providing reliable, accurate information in the past, notified the FBI
   that FLA determined that on May 24, 2019, IP address 76.253.61.232 “was used to access
   online child sexual abuse and exploitation material” via a website that the FLA named and
   described as the TARGET WEBSITE. FLA described the website as having “an explicit focus
   on the facilitation of sharing child abuse material (images, links and videos), emphasis on
   BDSM, hurtcore, gore and death-related material including that of children,” stated that
   “[u]sers were required to create an account (username and password) in order to access the
   majority of the material,” and provided further documentation naming the website as the
   TARGET WEBSITE, which the FLA referred to by its actual name.
26. FLA is a national law enforcement agency of a country with an established rule of law. There
   is a long history of U.S. law enforcement sharing criminal investigative information with FLA
   and FLA sharing criminal investigative information with U.S. law enforcement, across
   disciplines and including the investigation of crimes against children. FLA advised U.S. law
   enforcement that it obtained that information through independent investigation that was
   lawfully authorized in FLA’s country pursuant to its national laws. FLA further advised U.S.
   law enforcement that FLA had not interfered with, accessed, searched or seized any data from
   any computer in the United States in order to obtain that IP address information. U.S. law



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   enforcement personnel did not participate in the investigative work through which FLA
   identified the IP address information provided by FLA.
27. I am aware through my training and experience and consultation with other U.S. law
   enforcement agents that tips provided by FLA regarding IP addresses that FLA advised were
   associated with access to Tor network child exploitation-related web and chat sites have: (1)
   led to the identification and arrest of a U.S.-based child pornography producer and hands-on
   offender, and the identification and rescue of multiple U.S. children subject to that offender’s
   ongoing abuse; (2) led to the seizure of evidence of child pornography trafficking and
   possession; and (3) been determined through further investigation to be related to targets that
   U.S. law enforcement investigation had independently determined were associated with child
   pornography trafficking and possession.
28. As described herein, the TARGET WEBSITE could not generally be accessed through the
   traditional internet. Only a user who had installed the appropriate Tor software on the user’s
   computer could access the “TARGET WEBSITE.” Even after connecting to the Tor network,
   however, a user would have to find the 16-or-56-character web address of the TARGET
   WEBSITE in order to access it. Hidden service websites on the Tor Network are not “indexed”
   by search engines—such as Google—to anywhere near the same degree as websites that
   operate on the open Internet. Accordingly, it is much more difficult to perform a Google-type
   search of hidden service websites than it is to search open Internet websites for particular
   content of interest. Users interested in accessing child exploitation material (or in advertising
   child exploitation and pornography websites they operate) therefore keep, maintain and use
   directory sites that advertise the web addresses of hidden services that contain child
   exploitation related content. Those directory sites also operate via the Tor network. Users
   utilize those directory sites to identify new web forums, chat sites, image galleries and file
   hosts pertaining to the sexual exploitation of children. Such directory sites often identify
   whether particular sites are then operating, whether child pornography imagery may be found
   there, and even what types of child pornography are accessible (i.e., boys, girls, or “hurtcore”).
   They also contain clickable hyperlinks to access those sites. As with other hidden service
   websites, a user must find the 16-or-56 character web address for a directory website in order
   to access it. While it operated, the web address for the website described herein was listed on

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   one or more of such directory sites advertising hidden services dedicated to the sexual
   exploitation of children.
29. Accordingly, based on my training and experience and the information articulated herein,
   because accessing the TARGET WEBSITE required numerous affirmative steps by the user –
   to include downloading Tor software, accessing the Tor network, finding the web address for
   TARGET WEBSITE, and then connecting to TARGET WEBSITE via Tor – it is extremely
   unlikely that any user could simply stumble upon TARGET WEBSITE without understanding
   its purpose and content.
30. Accordingly, I submit that there is probable cause to believe that, for all of the reasons
   described herein, any user who accessed the TARGET WEBSITE has, at a minimum,
   knowingly accessed the TARGET WEBSITE with intent to view child pornography, or
   attempted to do so.
                              Identification of SUBJECT PREMISES
31. On May 24, 2019, TARGET WEBSITE was accessed at 01:34:38 UTC from IP address
   76.253.61.232.
32. According to publicly available information, IP address 47.24.167.115 was owned/operated by
   AT&T Communications, Inc.
33. On November 22, 2019, an administrative subpoena was issued to AT&T in regard to the
   pertinent IP address. A review of the results obtained on November 25, 2019, identified the
   following account holder and address:
       Name: Tracey Lawson
       Address: 6603 Crimson Lane Barnhart, MO 63012
       Telephone: 314-541-0367

34. A search of a public records database that provides names, dates of birth, addresses, associates,
   telephone numbers, email addresses, and other information was conducted for 6603 Crimson
   Lane, Barnhart, MO. This search revealed that 6603 Crimson Lane, Barnhart, MO was a single
   family residence, owned by Brent M. and Tracey L Lawson. These public records indicated
   that BRENT M. LAWSON, date of birth 03/12/1976, and TRACEY L LAWSON, date of
   birth xx/xx/70 currently reside at the SUBJECT PREMISES and that they have owned/lived
   at this address since April of 2015.

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35. A check with the Department of Motor Vehicles on or about August 19, 2020, revealed that
   BRENT LAWSON’S driver’s license lists the SUBJECT PREMISES as his current address,
   and he has a vehicle registered with the State of Missouri that he owns and that is also registered
   to the SUBJECT PREMISES.
36. On or about August 13, 2020, a representative from Ameren indicated that electric service is
   currently being provided to BRENT LAWSON at the SUBJECT PREMISES.
37. Surveillance of the SUBJECT PREMISES on or about August 18, 2020, identified a silver
   Toyota Highlander bearing Missouri license plate NC3-M5A, parked in the driveway in front
   of the residence, and a silver 2004 GMC Yukon bearing Missouri license plate GF9-S0E also
   parked in the driveway. The Toyota Highlander was determined to be registered to TRACEY
   LAWSON. The GMC Yukon was determined to be registered to BRENT LAWSON.
38. Further research indicated that BRENT MICHAEL LAWSON is a registered sex offender
   per records maintained by the Missouri State Highway Patrol. His address is listed in the sex
   offender registry as 6603 Crimson Lane, Barnhart MO, for both work and home addresses.
   Vehicles registered to him on the sex offender registry are a 2004 Yukon with plate GF9-S0E,
   a 2019 Kia with plate XD1-D1J, and a 2017 Highlander with plate NC3-M5A. According to
   public records available via the Public Access to Court Electronic Records (PACER) website,
   his obligation to register stems from a conviction on April 22, 2004, in the U.S. District Court
   for the E.D. of Missouri, for the offenses of Transportation of Child Pornography in violation
   of Title 18, United States Code, Section 2252(a)(1); Attempted Receipt of Child Pornography
   in violation of Title 18, United States Code, Section 2252A(a)(2); and Possession of Child
   Pornography in violation of Title 18, United States Code, section 2252A(a)(5)(B), for which
   BRENT MICHAEL LAWSON, was sentenced by the Hon. Judge Stephen N. Limbaugh to
   sixty months of imprisonment followed by three years of supervised release.


BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, AND THE INTERNET
39. I have had both training and experience in the investigation of computer-related crimes. Based
   on my training, experience, and knowledge, I know the following:




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       a. Computers and digital technology are the primary way in which individuals interested
in child pornography interact with each other. Computers basically serve four functions in
connection with child pornography: production, communication, distribution, and storage.
       b.      Digital cameras and smartphones with cameras save photographs or videos as a
digital file that can be directly transferred to a computer by connecting the camera or smartphone
to the computer, using a cable or via wireless connections such as “WiFi” or “Bluetooth.” Photos
and videos taken on a digital camera or smartphone may be stored on a removable memory card
in the camera or smartphone. These memory cards are often large enough to store thousands of
high-resolution photographs or videos.
       c.      A device known as a modem allows any computer to connect to another computer
through the use of telephone, cable, or wireless connection. Mobile devices such as smartphones
and tablet computers may also connect to other computers via wireless connections. Electronic
contact can be made to literally millions of computers around the world. Child pornography can
therefore be easily, inexpensively and anonymously (through electronic communications)
produced, distributed, and received by anyone with access to a computer or smartphone.
       d.      The computer’s ability to store images in digital form makes the computer itself an
ideal repository for child pornography. Electronic storage media of various types - to include
computer hard drives, external hard drives, CDs, DVDs, and “thumb,” “jump,” or “flash” drives,
which are very small devices that are plugged into a port on the computer - can store thousands of
images or videos at very high resolution. It is extremely easy for an individual to take a photo or
a video with a digital camera or camera-bearing smartphone, upload that photo or video to a
computer, and then copy it (or any other files on the computer) to any one of those media storage
devices. Some media storage devices can easily be concealed and carried on an individual’s
person. Smartphones and/or mobile phones are also often carried on an individual’s person.
       e.      The Internet affords individuals several different venues for obtaining, viewing, and
trading child pornography in a relatively secure and anonymous fashion.
       f.      Individuals also use online resources to retrieve and store child pornography. Some
online services allow a user to set up an account with a remote computing service that may provide
email services and/or electronic storage of computer files in any variety of formats. A user can set
up an online storage account (sometimes referred to as “cloud” storage) from any computer or

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smartphone with access to the Internet. Even in cases where online storage is used, however,
evidence of child pornography can be found on the user’s computer, smartphone, or external media
in most cases.
        g.       A growing phenomenon related to smartphones and other mobile computing
devices is the use of mobile applications, also referred to as “apps.” Apps consist of software
downloaded onto mobile devices that enable users to perform a variety of tasks – such as engaging
in online chat, sharing digital files, reading a book, or playing a game – on a mobile device.
Individuals commonly use such apps to receive, store, distribute, and advertise child pornography,
to interact directly with other like-minded offenders or with potential minor victims, and to access
cloud-storage services where child pornography may be stored.
        h.       As is the case with most digital technology, communications by way of computer
can be saved or stored on the computer used for these purposes. Storing this information can be
intentional (i.e., by saving an email as a file on the computer or saving the location of one’s favorite
websites in, for example, “bookmarked” files) or unintentional. Digital information, such as the
traces of the path of an electronic communication, may also be automatically stored in many places
(e.g., temporary files or ISP client software, among others).              In addition to electronic
communications, a computer user’s Internet activities generally leave traces or “footprints” in the
web cache and history files of the browser used. Such information is often maintained indefinitely
until overwritten by other data.


 CHARACTERISTICS COMMON TO INDIVIDUALS WHO ACCESS WITH INTENT
                  TO VIEW CHILD PORNOGRAPHY

40. Based on my previous investigative experience related to child exploitation investigations, and
   the training and experience of other law enforcement officers with whom I have had
   discussions, I know there are certain characteristics common to individuals who access online
   child sexual abuse and exploitation material via a website.
       a.        Such individuals may receive sexual gratification, stimulation, and satisfaction
       from contact with children, or from fantasies they may have viewing children engaged in
       sexual activity or in sexually suggestive poses, such as in person, in photographs, or other
       visual media, or from literature describing such activity.

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     b.      Such individuals may collect sexually explicit or suggestive materials in a variety
     of media, including photographs, magazines, motion pictures, videotapes, books, slides
     and/or drawings or other visual media. Individuals who have a sexual interest in children
     or images of children oftentimes use these materials for their own sexual arousal and
     gratification. Further, they may use these materials to lower the inhibitions of children
     they are attempting to seduce, to arouse the selected child partner, or to demonstrate the
     desired sexual acts.
     c.      Such individuals almost always possess and maintain child pornographic material
     in the privacy and security of their home or some other secure location. Individuals who
     have a sexual interest in children or images of children typically retain those materials and
     child erotica for many years.
     d.      Likewise, such individuals often maintain their child pornography images in a
     digital or electronic format in a safe, secure and private environment, such as a computer
     and surrounding area. These child pornography images are often maintained for several
     years and are kept close by, usually at the possessor’s residence, inside the possessor’s
     vehicle, or, at times, on their person, or in cloud-based online storage, to enable the
     individual to view the child pornography images, which are valued highly. Some of these
     individuals also have been found to download, view, and then delete child pornography on
     their computers or digital devices on a cyclical and repetitive basis.
     e.      Importantly, evidence of such activity, including deleted child pornography, often
     can be located on these individuals’ computers and digital devices through the use of
     forensic tools. Indeed, the very nature of electronic storage means that evidence of the
     crime is often still discoverable for extended periods of time even after the individual
     “deleted” it.
     f.      Such individuals also may correspond with and/or meet others to share information
     and materials,     rarely destroy correspondence        from    other child pornography
     distributors/possessors, conceal such correspondence as they do their sexually explicit
     material, and often maintain contact information (e.g. online messaging accounts, email
     addresses, etc.) of individuals with whom they have been in contact and who share the
     same interests in child pornography.

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       g.      Such individuals prefer not to be without their child pornography for any prolonged
       time period. This behavior has been documented by law enforcement officers involved in
       the investigation of child pornography throughout the world.
       h.      Even if the target uses a portable device (such as a mobile phone) to access the
       Internet and child pornography, it is more likely than not that evidence of this access will
       be found in his home, the SUBJECT PREMISES, as set forth in Attachment A, including
       on digital devices other than the portable device (for reasons including the frequency of
       “backing up” or “synching” mobile phones to computers or other digital devices).
41. Based on all of the information contained herein, I believe that an internet user residing at the
   SUBJECT PREMISES likely displays characteristics common to individuals who access
   online child sexual abuse and exploitation material via a website. In particular, the target of
   investigation obtained and used Tor network software, found the web address for TARGET
   WEBSITE, and accessed online child sexual abuse and exploitation material via the TARGET
   WEBSITE.


            SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS
42. As described above and in Attachment B, this application seeks permission to search for
   records that might be found on the SUBJECT PREMISES, in whatever form they are found.
   One form in which the records are likely to be found is data stored on a computer’s hard drive
   or other storage media. Thus, the warrant applied for would authorize the seizure of electronic
   storage media or, potentially, the copying of electronically stored information, all under Rule
   41(e)(2)(B).
43. I submit that if a computer or storage medium is found on the SUBJECT PREMISES, there is
   probable cause to believe those records referenced above will be stored on that computer or
   storage medium, for at least the following reasons:
       a. Deleted files, or remnants of deleted files, may reside in free space or slack space—
            that is, in space on the storage medium that is not currently being used by an active
            file—for long periods of time before they are overwritten. In addition, a computer’s
            operating system may also keep a record of deleted data in a “swap” or “recovery” file.



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       b. Based on my knowledge, training, and experience, I know that computer files or
          remnants of such files can be recovered months or even years after they have been
          downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic
          files downloaded to a storage medium can be stored for years at little or no cost. Even
          when files have been deleted, they can be recovered months or years later using forensic
          tools. This is so because when a person “deletes” a file on a computer, the data
          contained in the file does not actually disappear; rather, that data remains on the storage
          medium until it is overwritten by new data.
       c. Wholly apart from user-generated files, computer storage media—in particular,
          computers’ internal hard drives—contain electronic evidence of how a computer has
          been used, what it has been used for, and who has used it. To give a few examples, this
          forensic evidence can take the form of operating system configurations, artifacts from
          operating system or application operation, file system data structures, and virtual
          memory “swap” or paging files. Computer users typically do not erase or delete this
          evidence, because special software is typically required for that task. However, it is
          technically possible to delete this information.
       d. Similarly, files that have been viewed via the Internet are sometimes automatically
          downloaded into a temporary Internet directory or “cache.”
44. As further described in Attachment B, this application seeks permission to locate not only
   computer files that might serve as direct evidence of the crimes described on the warrant, but
   also for forensic electronic evidence that establishes how computers were used, the purpose of
   their use, who used them, and when. There is probable cause to believe that this forensic
   electronic evidence will be on any storage medium in the SUBJECT PREMISES because:
   a. Data on the storage medium can provide evidence of a file that was once on the storage
       medium but has since been deleted or edited, or of a deleted portion of a file (such as a
       paragraph that has been deleted from a word processing file). Virtual memory paging
       systems can leave traces of information on the storage medium that show what tasks and
       processes were recently active. Web browsers, email programs, and chat programs store
       configuration information on the storage medium that can reveal information such as online
       nicknames and passwords. Operating systems can record additional information, such as

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     the attachment of peripherals, the attachment of USB flash storage devices or other external
     storage media, and the times the computer was in use. Computer file systems can record
     information about the dates files were created and the sequence in which they were created,
     although this information can later be falsified.
 b. Information stored within a computer and other electronic storage media may provide
     crucial evidence of the “who, what, why, when, where, and how” of the criminal conduct
     under investigation, thus enabling the United States to establish and prove each element or
     alternatively, to exclude the innocent from further suspicion.        In my training and
     experience, information stored within a computer or storage media (e.g., registry
     information, communications, images and movies, transactional information, records of
     session times and durations, Internet history, and anti-virus, spyware, and malware
     detection programs) can indicate who has used or controlled the computer or storage media.
     This “user attribution” evidence is analogous to the search for “indicia of occupancy” while
     executing a search warrant at a residence. The existence or absence of anti-virus, spyware,
     and malware detection programs may indicate whether the computer was remotely
     accessed, thus inculpating or exculpating the computer owner. Further, computer and
     storage media activity can indicate how and when the computer or storage media was
     accessed or used.     For example, computers typically contain information that logs:
     computer user account session times and durations, computer activity associated with user
     accounts, electronic storage media that connected with the computer, and the IP addresses
     through which the computer accessed networks and the Internet. Such information allows
     investigators to understand the chronological context of computer or electronic storage
     media access, use, and events relating to the crime under investigation. Additionally, some
     information stored within a computer or electronic storage media may provide crucial
     evidence relating to the physical location of other evidence and the suspect. For example,
     images stored on a computer may both show a particular location and have geolocation
     information incorporated into its file data.        Such file data typically also contains
     information indicating when the file or image was created. The existence of such image
     files, along with external device connection logs, may also indicate the presence of
     additional electronic storage media (e.g., a digital camera or cellular phone with an

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     incorporated camera). The geographic and timeline information described herein may
     either inculpate or exculpate the computer user. Last, information stored within a computer
     may provide relevant insight into the computer user’s state of mind as it relates to the
     offense under investigation. For example, information within the computer may indicate
     the owner’s motive and intent to commit a crime (e.g., Internet searches indicating criminal
     planning), or consciousness of guilt (e.g., running a “wiping” program to destroy evidence
     on the computer or password protecting/encrypting such evidence in an effort to conceal it
     from law enforcement).
 c. A person with appropriate familiarity with how a computer works can, after examining this
     forensic evidence in its proper context, draw conclusions about how computers were used,
     the purpose of their use, who used them, and when.
 d. The process of identifying the exact files, blocks, registry entries, logs, or other forms of
     forensic evidence on a storage medium that are necessary to draw an accurate conclusion
     is a dynamic process. While it is possible to specify in advance the records to be sought,
     computer evidence is not always data that can be merely reviewed by a review team and
     passed along to investigators. Whether data stored on a computer is evidence may depend
     on other information stored on the computer and the application of knowledge about how
     a computer behaves. Therefore, contextual information necessary to understand other
     evidence also falls within the scope of the warrant.
 e. Further, in finding evidence of how a computer was used, the purpose of its use, who used
     it, and when, sometimes it is necessary to establish that a particular thing is not present on
     a storage medium. For example, the presence or absence of counter-forensic programs or
     anti-virus programs (and associated data) may be relevant to establishing the user’s intent.
 f. I know that when an individual uses a computer to obtain or access child pornography, the
     individual’s computer will generally serve both as an instrumentality for committing the
     crime, and also as a storage medium for evidence of the crime. The computer is an
     instrumentality of the crime because it is used as a means of committing the criminal
     offense. The computer is also likely to be a storage medium for evidence of crime. From
     my training and experience, I believe that a computer used to commit a crime of this type
     may contain: data that is evidence of how the computer was used; data that was sent or

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       received; notes as to how the criminal conduct was achieved; records of Internet
       discussions about the crime; and other records that indicate the nature of the offense.
45. Based upon my training and experience and information relayed to me by agents and others
   involved in the forensic examination of computers, I know that computer data can be stored on
   a variety of systems and storage devices, including external and internal hard drives, flash
   drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards,
   cellular phones capable of storage, floppy disks, compact disks, magnetic tapes, memory cards,
   memory chips, and online or offsite storage servers maintained by corporations, including but
   not limited to “cloud” storage. I also know that during the search of the premises it is not
   always possible to search computer equipment and storage devices for data for a number of
   reasons, including the following:
   a. Searching computer systems is a highly technical process that requires specific expertise
       and specialized equipment. There are so many types of computer hardware and software
       in use today that it is impossible to bring to the search site all of the technical manuals and
       specialized equipment necessary to conduct a thorough search. In addition, it may also be
       necessary to consult with computer personnel who have specific expertise in the type of
       computer, software, or operating system that is being searched;
   b. Searching computer systems requires the use of precise, scientific procedures which are
       designed to maintain the integrity of the evidence and to recover “hidden,” erased,
       compressed, encrypted, or password-protected data. Computer hardware and storage
       devices may contain “booby traps” that destroy or alter data if certain procedures are not
       scrupulously followed. Since computer data is particularly vulnerable to inadvertent or
       intentional modification or destruction, a controlled environment, such as a law
       enforcement laboratory, is essential to conducting a complete and accurate analysis of the
       equipment and storage devices from which the data will be extracted;
   c. The volume of data stored on many computer systems and storage devices will typically
       be so large that it will be highly impractical to search for data during the execution of the
       physical search of the premises; and
   d. Computer users can attempt to conceal data within computer equipment and storage
       devices through a number of methods, including the use of innocuous or misleading

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       filenames and extensions. For example, files with the extension “.jpg” often are image
       files; however, a user can easily change the extension to “.txt” to conceal the image and
       make it appear that the file contains text. Computer users can also attempt to conceal data
       by using encryption, which means that a password or device, such as a “dongle” or
       “keycard,” is necessary to decrypt the data into readable form. In addition, computer users
       can conceal data within another seemingly unrelated and innocuous file in a process called
       “steganography.” For example, by using steganography a computer user can conceal text
       in an image file which cannot be viewed when the image file is opened. Therefore, a
       substantial amount of time is necessary to extract and sort through data that is concealed
       or encrypted to determine whether it is contraband, evidence, fruits, or instrumentalities of
       a crime.
46. Additionally, based upon my training and experience and information relayed to me by agents
   and others involved in the forensic examination of computers, I know that routers, modems,
   and network equipment used to connect computers to the Internet often provide valuable
   evidence of, and are instrumentalities of, a crime. This is equally true of wireless routers,
   which create localized networks that allow individuals to connect to the Internet wirelessly.
   Though wireless networks may be secured (in that they require an individual to enter an
   alphanumeric key or password before gaining access to the network) or unsecured (in that an
   individual may access the wireless network without a key or password), wireless routers for
   both secured and unsecured wireless networks may yield significant evidence of, or serve as
   instrumentalities of, a crime—including, for example, serving as the instrument through which
   the perpetrator of the Internet-based crime connected to the Internet and, potentially,
   containing logging information regarding the time and date of a perpetrator’s network activity
   as well as identifying information for the specific device(s) the perpetrator used to access the
   network. Moreover, I know that individuals who have set up either a secured or unsecured
   wireless network in their residence are often among the primary users of that wireless network.
47. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am applying for
   would permit seizing, imaging, or otherwise copying storage media that reasonably appear to
   contain some or all of the evidence described in the warrant, and would authorize a later review
   of the media or information consistent with the warrant. The later review may require

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  techniques, including but not limited to computer-assisted scans of the entire medium, that
  might expose many parts of a hard drive to human inspection in order to determine whether it
  is evidence described by the warrant.


                           BIOMETRIC ACCESS TO DEVICES
48. This warrant permits law enforcement to compel BRENT MICHAEL LAWSON to
  unlock any DEVICES owned or used by him requiring biometric access subject to seizure
  pursuant to this warrant. The grounds for this request are as follows:
  a. I know from my training and experience, as well as from information found in publicly
      available materials published by device manufacturers, that many electronic devices,
      particularly newer mobile devices and laptops, offer their users the ability to unlock the
      device through biometric features in lieu of a numeric or alphanumeric passcode or
      password.    These biometric features include fingerprint scanners, facial recognition
      features and iris recognition features. Some devices offer a combination of these biometric
      features, and the user of such devices can select which features they would like to utilize.
  b. If a device is equipped with a fingerprint scanner, a user may enable the ability to unlock
      the device through his or her fingerprints. For example, Apple offers a feature called
      “Touch ID,” which allows a user to register up to five fingerprints that can unlock a device.
      Once a fingerprint is registered, a user can unlock the device by pressing the relevant finger
      to the device’s Touch ID sensor, which is found in the round button (often referred to as
      the “home” button) located at the bottom center of the front of the device. The fingerprint
      sensors found on devices produced by other manufacturers have different names but
      operate similarly to Touch ID.
  c. If a device is equipped with a facial-recognition feature, a user may enable the ability to
      unlock the device through his or her face. For example, this feature is available on certain
      Android devices and is called “Trusted Face.” During the Trusted Face registration
      process, the user holds the device in front of his or her face. The device’s front-facing
      camera then analyzes and records data based on the user’s facial characteristics. The device
      can then be unlocked if the front-facing camera detects a face with characteristics that



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     match those of the registered face. Facial recognition features found on devices produced
     by other manufacturers have different names but operate similarly to Trusted Face.
 d. If a device is equipped with an iris-recognition feature, a user may enable the ability to
     unlock the device with his or her irises. For example, on certain Microsoft devices, this
     feature is called “Windows Hello.” During the Windows Hello registration, a user registers
     his or her irises by holding the device in front of his or her face. The device then directs
     an infrared light toward the user’s face and activates an infrared-sensitive camera to record
     data based on patterns within the user’s irises. The device can then be unlocked if the
     infrared-sensitive camera detects the registered irises. Iris-recognition features found on
     devices produced by other manufacturers have different names but operate similarly to
     Windows Hello.
 e. In my training and experience, users of electronic devices often enable the aforementioned
     biometric features because they are considered to be a more convenient way to unlock a
     device than by entering a numeric or alphanumeric passcode or password. Moreover, in
     some instances, biometric features are considered to be a more secure way to protect a
     device’s contents. This is particularly true when the users of a device are engaged in
     criminal activities and thus have a heightened concern about securing the contents of a
     device.
 f. As discussed in this Affidavit, your Affiant has reason to believe that one or more digital
     devices will be found during the search. The passcode or password that would unlock the
     DEVICES subject to search under this warrant currently is not known to law enforcement.
     Thus, law enforcement personnel may not otherwise be able to access the data contained
     within the DEVICES, making the use of biometric features necessary to the execution of
     the search authorized by this warrant.
 g. I also know from my training and experience, as well as from information found in publicly
     available materials including those published by device manufacturers, that biometric
     features will not unlock a device in some circumstances even if such features are enabled.
     This can occur when a device has been restarted, inactive, or has not been unlocked for a
     certain period of time. For example, Apple devices cannot be unlocked using Touch ID
     when: (1) more than 48 hours has elapsed since the device was last unlocked; or, (2) when

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       the device has not been unlocked using a fingerprint for 8 hours and the passcode or
       password has not been entered in the last 6 days. Similarly, certain Android devices cannot
       be unlocked with Trusted Face if the device has remained inactive for four hours. Biometric
       features from other brands carry similar restrictions. Thus, in the event law enforcement
       personnel encounter a locked device equipped with biometric features, the opportunity to
       unlock the device through a biometric feature may exist for only a short time.
   h. Due to the foregoing, if law enforcement personnel encounter any DEVICES that are
       subject to seizure pursuant to this warrant and may be unlocked using one of the
       aforementioned biometric features, this warrant permits law enforcement personnel to: (1)
       press or swipe the fingers (including thumbs) of BRENT MICHAEL LAWSON to
       the fingerprint scanner of the DEVICES found at the PREMISES;
       (2) hold the DEVICES found at the PREMISES in front of the face of BRENT MICHAEL
       LAWSON and activate the facial recognition feature; and/or (3) hold the DEVICES
       found at the PREMISES in front of the face of BRENT MICHAEL LAWSON and
       activate the iris recognition feature, for the purpose of attempting to unlock the
       DEVICES in order to search the contents as authorized by this warrant. The proposed
       warrant does not authorize law enforcement to compel that BRENT MICHAEL
       LAWSON state or otherwise provide the password or any other means that may be
       used to unlock or access the DEVICES. Moreover, the proposed warrant does not
       authorize law enforcement to compel BRENT MICHAEL LAWSON to identify the
       specific biometric characteristics (including the unique finger(s) or other physical
       features) that may be used to unlock or access the DEVICES.


                                        CONCLUSION
49. Based on the foregoing, there is probable cause to believe that the federal criminal statutes
   cited herein have been violated, and that the contraband, property, evidence, fruits and
   instrumentalities of these offenses, more fully described in Attachment B, are located at the
   locations described in Attachment A. I respectfully request that this Court issue a search
   warrant for the locations described in Attachment A, authorizing the seizure and search of the
   items described in Attachment B.

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                                    ATTACHMENT A
                       DESCRIPTION OF LOCATIONS TO BE SEARCHED
       The entire premises located at 6603 Crimson Lane, Barnhart, Missouri, and any person
located at the SUBJECT PREMISES.
   A two-story structure with a tan siding and tan brick exterior, with black shutters, a three (3) car garage and a shingle-style
   roof. The numbers “6603” are clearly displayed on the front porch post.




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                                       ATTACHMENT B
                                     ITEMS TO BE SEIZED
       The following materials, which constitute evidence of the commission of a criminal
offense, contraband, the fruits of crime, or property designed or intended for use or which is or has
been used as the means of committing a criminal offense, namely violations of 18 U.S.C. § § 2251,
2252 and 2252A
   a. Computers or storage media used as a means to commit the violations described above.
   b. For any computer or storage medium whose seizure is otherwise authorized by this warrant,
       and any computer or storage medium that contains or in which are stored records or
       information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):
   c. evidence of who used, owned, or controlled the COMPUTER at the time the things
       described in this warrant were created, edited, or deleted, such as logs, registry entries,
       configuration files, saved user names and passwords, documents, browsing history, user
       profiles, email, email contacts, “chat,” instant messaging logs, photographs, and
       correspondence;
   d. evidence of software that would allow others to control the COMPUTER, such as viruses,
       Trojan horses, and other forms of malicious software, as well as evidence of the presence
       or absence of security software designed to detect malicious software;
   e. evidence of the lack of such malicious software;
   f. evidence indicating how and when the computer was accessed or used to determine the
       chronological context of computer access, use, and events relating to the crime(s) under
       investigation and to the computer user;
   g. evidence indicating the computer user’s knowledge and/or intent as it relates to the crime(s)
       under investigation;
   h. evidence of the attachment to the COMPUTER of other storage devices or similar
       containers for electronic evidence;
   i. evidence of programs (and associated data) that are designed to eliminate data from the
       COMPUTER;
   j. evidence of the times the COMPUTER was used;
   k. passwords, encryption keys, and other access devices that may be necessary to access the
       COMPUTER;
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   l. documentation and manuals that may be necessary to access the COMPUTER or to conduct
       a forensic examination of the COMPUTER;
   m. records of or information about Internet Protocol addresses used by the COMPUTER;
   n. records of or information about the COMPUTER’s Internet activity, including firewall
       logs, caches, browser history and cookies, “bookmarked” or “favorite” web pages, search
       terms that the user entered into any Internet search engine, and records of user-typed web
       addresses; andcontextual information necessary to understand the evidence described in
       this attachment.
   o. Routers, modems, and network equipment used to connect computers to the Internet.
   p. Child pornography, as defined in 18 U.S.C. § 2256(8), visual depictions of minors
       engaging in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2), and child erotica.
   q. Records, information, and items relating to violations of the statutes described above
       including:
   r. Records, information, and items relating to the occupancy or ownership of the SUBJECT
       PREMISES, 6603 Crimson Lane, Barnhart, MO, including utility and telephone bills, mail
       envelopes, or addressed correspondence;
   s. Records, information, and items relating to the ownership or use of computer equipment
       found in the above residence, including sales receipts, bills for Internet access, and
       handwritten notes;
   t. Records and information relating to the identity or location of the persons suspected of
       violating the statutes described above;
   u. Records and information relating to sexual exploitation of children, including
       correspondence and communications between users of child pornography and exploitation
       websites.
       As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).



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       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hardware.
       The term “storage medium” includes any physical object upon which computer data can
be recorded, including external and internal hard drives, flash drives, thumb drives, micro SD
cards, macro SD cards, DVDs, gaming systems, SIM cards, cellular phones capable of storage,
floppy disks, compact discs, magnetic tapes, memory cards, memory chips, and other magnetic
or optical media.
       During the execution of the search of the PREMISES described in Attachment A, law
enforcement personnel are also specifically authorized to compel BRENT MICHAEL
LAWSON to provide biometric features, including pressing fingers (including thumbs) against
and/or putting a face before the sensor, or any other security feature requiring biometric
recognition, of:
       (a)     any of the DEVICE(S) known to be used by BRENT MICHAEL LAWSON
               that are found at the PREMISES, and
       (b)     where the DEVICES are limited to those which are capable of containing and
               reasonably could contain fruits, evidence, information, contraband, or
               instrumentalities of the offense(s) as described in the search warrant affidavit and
               warrant attachments,
for the purpose of attempting to unlock the DEVICES’s security features in order to search the
contents as authorized by this warrant.
       This warrant does not authorize law enforcement personnel to compel any other individuals
found at the PREMISES to provide biometric features, as described in the preceding paragraph, to
access or otherwise unlock any DEVICE.           Further, this warrant does not authorize law
enforcement personnel to request that BRENT MICHAEL LAWSON state or otherwise
provide the password or any other means that may be used to unlock or access the
DEVICES, including by identifying the specific biometric characteristics (including the unique
finger(s) or other physical features) that may be used to unlock or access the DEVICES.



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       This warrant authorizes a review of electronic storage media and electronically stored
information seized or copied pursuant to this warrant in order to locate evidence, fruits, and
instrumentalities described in this warrant. The review of this electronic data may be conducted
by any government personnel assisting in the investigation, who may include, in addition to law
enforcement officers and agents, attorneys for the government, attorney support staff, and technical
experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied
electronic data to the custody and control of attorneys for the government and their support staff
for their independent review.




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